     Case 2:17-cv-06204-CAS-GJS Document 70 Filed 12/14/18 Page 1 of 4 Page ID #:522




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10                             UNITED STATES DISTRICT COURT

11                        CENTRAL DISTRICT OF CALIFORNIA
12    SECURITIES AND EXCHANGE                   Case No. CV-17-06204-CAS-GJSx
      COMMISSION,
13                                              [PROPOSED] JUDGMENT AS TO
                  Plaintiff,                    DEFENDANT JEREMY JOSEPH
14                                              DRAKE
            vs.
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      JEREMY JOSEPH DRAKE,
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                  Defendant.
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     Case 2:17-cv-06204-CAS-GJS Document 70 Filed 12/14/18 Page 2 of 4 Page ID #:523




1           The Securities and Exchange Commission (“SEC” or “Commission”) having
2     filed a Complaint and Defendant Jeremy Joseph Drake (“Drake” or “Defendant”)
3     having entered a general appearance; consented to the Court’s jurisdiction over
4     Defendant and the subject matter of this action; consented to entry of this Judgment;
5     waived findings of fact and conclusions of law; and waived any right to appeal from
6     this Judgment (except that Defendant has not waived his right to appeal the Court’s
7     determination of the amounts of disgorgement and prejudgment interest that
8     Defendant may be ordered to pay pursuant to paragraph II below):
9                                                I.
10          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
11    permanently restrained and enjoined from violating, directly or indirectly, Section
12    206(1) and 206(2) of the Investment Advisers Act of 1940 [15 U.S.C. §§ 80b-6(1)
13    and 80b-6(2)], by the use of the mails or any means or instrumentalities of interstate
14    commerce:
15          (a)    to employ any device, scheme, or artifice to defraud any client or
16    prospective client; or
17          (b)    to engage in any transaction, practice, or course of business which
18    operates as a fraud or deceit upon any client or prospective client.
19          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
20    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
21    binds the following who receive actual notice of this Judgment by personal service or
22    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and
23    (b) other persons in active concert or participation with Defendant or with anyone
24    described in (a).
25                                               II.
26          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that,
27    upon motion of the SEC, the Court shall determine whether it is appropriate to order
28    Defendant to pay disgorgement of ill-gotten gains and, if so, the amount of

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     Case 2:17-cv-06204-CAS-GJS Document 70 Filed 12/14/18 Page 3 of 4 Page ID #:524




1     disgorgement. If disgorgement is ordered, Defendant shall pay prejudgment interest
2     thereon, calculated from August 1, 2016, based on the rate of interest used by the
3     Internal Revenue Service for the underpayment of federal income tax as set forth in
4     26 U.S.C. § 6621(a)(2). In connection with the SEC’s motion for disgorgement, and
5     at any hearing held on such a motion: (a) Defendant will be precluded from arguing
6     that he did not violate the federal securities laws as alleged in the Complaint; (b)
7     Defendant may not challenge the validity of the Consent or this Judgment; (c) solely
8     for the purposes of such motion, the allegations of the Complaint shall be accepted as
9     and deemed true by the Court; and (d) the Court may determine the issues raised in
10    the motion on the basis of affidavits, declarations, excerpts of sworn deposition or
11    investigative testimony, and documentary evidence, without regard to the standards
12    for summary judgment contained in Rule 56(c) of the Federal Rules of Civil
13    Procedure. In connection with the SEC’s motion for disgorgement, the parties may
14    take discovery, including discovery from appropriate non-parties. Defendant’s
15    disgorgement and prejudgment interest obligation shall be credited by any amounts
16    that Defendant is ordered to pay as restitution in the criminal case United States v.
17    Jeremy Joseph Drake, Case No. 18-CR00058-CAS-1, which is pending in the Central
18    District of California.
19                                               III.
20          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the SEC
21    has determined to forgo seeking a civil penalty against Defendant, and the claim for a
22    civil penalty against Defendant is hereby DISMISSED.
23                                               IV.
24          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the
25    Consent of Jeremy Joseph Drake to Entry of Judgment is incorporated herein with the
26    same force and effect as if fully set forth herein, and that Defendant shall comply
27    with all of the undertakings and agreements set forth therein.
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     Case 2:17-cv-06204-CAS-GJS Document 70 Filed 12/14/18 Page 4 of 4 Page ID #:525




1                                                 V.
2           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for
3     purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code,
4     11 U.S.C. §523, the allegations in the complaint are true and admitted by Defendant,
5     and further, any debt for disgorgement, prejudgment interest, civil penalty or other
6     amounts due by Defendant under this Judgment or any other judgment, order, consent
7     order, decree or settlement agreement entered in connection with this proceeding, is a
8     debt for the violation by Defendant of the federal securities laws or any regulation or
9     order issued under such laws, as set forth in Section 523(a)(19) of the Bankruptcy
10    Code, 11 U.S.C. §523(a)(19).
11                                               VI.
12          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court
13    shall retain jurisdiction of this matter for the purposes of enforcing the terms of this
14    Judgment.
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16    Dated: ______________
             12/14/2018

17                                            ____________________________________
                                              HON. CHRISTINA A. SNYDER
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                                              UNITED STATES DISTRICT JUDGE
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